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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

 LUKE NGUYEN,

          Plaintiff,

 v.                                               Case No.: 3:21-cv-00173-MMH-MCR

 UNIVERSITY OF ST. AUGUSTINE
 FOR HEALTH SCIENCES, LLC,

       Defendant.
 _________________________________/

                       DECLARATION OF LAURA KAUFFMAN

          I, Laura Kauffman, pursuant to the provisions of 28 U.S.C. § 1746, hereby

 declare as follows:

          1.     I am over the age of eighteen. The facts stated in this Declaration are

 true of my personal knowledge and I could and would competently testify thereto if

 called upon to do so.

          2.     I am currently employed by the University of St. Augustine for Health

 Sciences (“USA”) as Executive Director, Human Resources Operations.

          3.     Attached hereto as Exhibit A is a true and correct copy of the offer letter

 signed by Ryan Davis (“Davis”).

          4.     Davis was employed by USA as the Manager, Student Affairs and

 Disability Services from May 16, 2018 through August 2020. In or around August

 2020 Davis was promoted to Director of Student Welfare.




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          5.     As Manager, Student Affairs and Disability Services, Davis served all of

 USA’s locations, including USA’s St. Augustine campus.

          6.     Attached hereto as Exhibit B is a true and correct copy of the job

 description for USA’s Manager, Student Affairs & Disability Services. This job

 description correctly and accurately reflects Davis’ job duties during the time that he

 held the position.



          Executed on August 9, 2022 in San Diego County, California.




                                                             LAURA KAUFFMAN




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                       Exhibit A
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                     S UNIVERSITY or ST . AUGUSTINE
         W                                                              S C I E N C E S

 April 9, 2018

 Ryan Davis
 3961 Los Milagros
 Santa Fe, NM 87507

 Dear Ryan,

 It is my pleasure to confirm our offer to transition to a full-time role as the Manager, Student Affairs and
 Disability Services for the University of St. Augustine for Health Sciences ( USAHS) reporting to Ray Toledo,
 Interim Director, Student Services. This position is classified as regular, full time, salaried for wage and hour
                                                                               -
 purposes. Your new annual salary will be $70,000.00, paid semi monthly. Vacation time will continue to accrue
                                                                 -
 at the rate of 10.00 hours per month .

 The transition date of your new role will be effective May 16, 2018.

 This position will be based at our Austin, Texas campus and will require frequent travel to our USAHS
 campuses in the United States. As relocation will be necessary, we are pleased to offer you a one-time lump
 sum relocation package of $8900.00 (grossed up for tax purposes) which will be administered through our
 relocation vendor, NEI. Any additional relocation expenses exceeding the approved amounts will be your
 responsibility. In the event you leave the organization within two years of your effective relocation date, some
 or all of the expenses incurred by the Company may be subject to repayment. A separate Relocation
 Agreement will be provided. It is our goal to ensure a successful transition from your current role and we will
 work with you to establish a mutually agreeable relocation date, targeting on or before June 15, 2018.

 Your employment is on an "at will" basis, and is subject to the terms and conditions contained in the Employee
             .
 Handbook This offer of employment is not a contract, either express or implied.

If you have any unanswered questions or if there is any way we can assist you further, please do not hesitate
to call me at ( 737 ) 202 3310. Congratulations on your new position, and we wish you success at the University
                           -
of St. Augustine for Health Sciences.

Sincerely,
                      >
Joy King
Manager, HumanResources

ACKNOWLEDGEMENT AND ACCEPTANCE:

I accept the offer cjf employment to the Univ wty of St. Augustine according to the terms outlined above.
                                             ^-
                                              ^C
Signature:       /



Print Name:                                   u- \

Date:        w/io/        fEs
cc:     Raymond Toledo / HR file


                                                                                                  USA/Nguyen 001151
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                        Exhibit B
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         *®            UNIVERSITY                                        OF           ST . AUGUSTINE
         » iB                      i                                                           S C I E N C E S

                                                           Job Description
Title:     Manager, Student Affairs & Disability Services                    FLSA Status:           Exempt
                                                                             Job Family:            Student Services

                                    TOP PORTION TO BE COMPLETED BY HUMAN RESOURCES

GENERAL SUMMARY
The Manager, Student Affairs and Disability Services provides assistance and motivational support for students in their
efforts to develop strong, independent academic skills and positive lifelong learning. The Manager provides support of
identifying and delivering appropriate ADA accommodations to those in need and with a focus on academic support in
conjunction with faculty, staff, and administrators, supporting a diverse population as it achieves its academic goals by
fostering a student-centered environment focused on academic excellence. Reporting into the department head of student
services/student affairs, the Manager is responsible for the university’s overall student affairs functions and represents the
department in interdepartmental committees and working teams.

ESSENTIAL DUTIES AND RESPONSIBILITIES
Responsible for providing support to all students, both on-campus and online in all programs, to accommodate the growing
needs of the college.

Student Affairs:
    • Represent the Student Affairs function including leading campus-based meetings, and answering questions,
        handling grievances, and addressing issues regarding campus delivery of services and programs.
    • Serve as a Student Conduct Officer for student judicial cases.
    • Represent the Student Affairs department on university committees, ad hoc committees, task forces, and special
        initiatives.
    • Serve as a Title IX Deputy/Investigator ensuring compliance with Title IX federal regulations
    • Serve as the chair of Intervention Team to address students in crisis through appropriate and individualized
        intervention.
    • Support student retention efforts through facilitating the counseling and withdrawal processes; serve as case
        manager for student support cases involving family issues, health issues, etc., working in conjunction with student
        success advisors and faculty advisors.

Academic Support:
• Provides helps to prevent students from probation status, to give support to at-risk students, and to decrease the overall
   number of students in these academic situations - at-risk, probation and academic suspension. The Academic Support
   Specialist completes administrative duties, such as record keeping, professional assessments, as well as managing and
   scheduling work study students.

Disability Services:
    • Manage requests for accommodations at institutional events such as residencies and commencement.
    • Attend residencies when needed to provide on-site coordination of accommodations.
    • Advise students with disabilities at residencies and follow their crisis issues to resolution.
    • Hire service providers and authorize expenditures required to provide appropriate student accommodations at
         events.
    • Coordinate processes related to management of all medical documentation submitted by students to ensure the
         utmost attention to confidentiality and other legal and ethical considerations. This task includes maintaining
         appropriate databases and document destruction processes.


This job description may be revised at any time. Neither the performance of the essential duties and responsibilities in this job description shall
create an obligation or expectation by either party that the Associate will continue employment with the Firm, nor will it obligate the Associate to
continue such employment. The employment relationship between the Firm and its Associates is, and shall remain, at will.

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     •     Contribute to decision making committees, such as petition hearing committees, when medical documentation is
           relevant.
     •     Develop and provide training to faculty, advisors, and others in the university community regarding policies and
           processes used in Disability Services, as well as the management of medical documentation submitted by students
           for petitions or any other purpose.
     •     Prepare communications, responses, and other written materials on behalf of Disability Services.
     •     Provide general support and assistance relating to students with disabilities.
     •     Attend and support student functions and events, including assisting with advising SGA; Active participant in
           strategic planning, budget planning, and innovation efforts for the Department of Student Affairs.
     •     Day to day job responsibilities require cell phone for frequent response to urgent business at any time of the day or
           night.

OTHER DUTIES AND RESPONSIBILITIES
May perform other duties and responsibilities that management may deem necessary from time to time.

POSITION IN ORGANIZATION
REPORTS TO: Executive Director/Director, Student Services
POSITIONS SUPERVISED: Not applicable

TECHNICAL, MANAGERIAL, and PEOPLE SKILLS REQUIRED
To perform this job successfully an individual must be able to perform each essential duty satisfactorily. The requirements
listed below are representative of the knowledge, skill, and/or ability required. Incumbents will be evaluated, in part, based
on performance of each essential function. Reasonable accommodations may be made to enable individuals with
disabilities to perform essential functions.

     •     Knowledge of the Business
     •     Ability to work independently
     •     Customer Focus
     •     Teamwork
     •     Accountability
     •     Problem-Solving
     •     Strong communications skills

EDUCATION and/or EXPERIENCE
   • Master's Degree required with a minimum of five years of professional experience in student affairs/student life.
   • Evidence of strong organizational, communication, and computer skills, specifically MS Office products.
   • Familiarity with the operation of developmental education programs preferred.
   • Willingness to relocate to USAHS campus is required

BUSINESS COMPETENCIES
   • Collaborates - Building partnerships and working collaboratively with others to meet shared objectives.

     •     Being Resilient - Rebounding from setbacks and adversity when facing difficult situations.

     •     Instills Trust - Gaining the confidence and trust of others through honesty, integrity, and authenticity.

     •     Drives Results - Consistently achieving results, even under tough circumstances.

     •     Innovation - Creating new and better ways for the organization to be successful.

     •     Customer Focus - Building strong customer relationships and delivering customer-centric solutions.

WORK ENVIRONMENT
Work is performed primarily in a standard office environment but may involve exposure to moderate noise levels. Work

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involves operation of personal computer equipment for six to eight hours daily and includes physical demands associated
with a traditional office setting, e.g., walking, standing, communicating, and other physical functions as necessary.



Physical requirements of this position include the following:
✓ Does not apply                     ❑ TBD                                   ❑ TBD
❑ Stooping, crawling                 ❑ TBD                                   ❑ TBD
❑ Lifting up to 40 lbs               ❑ TBD
❑ Lifting up over 40 lbs             ❑ TBD


FINANCIAL CONTROL
OPERATING BUDGET OR SALES TARGET
Select the amount below which best fits this position’s financial control. Financial control can mean 1) The planning for,
securing approval of, and authorizing expenditure of a budget, 2) Responsibility for achieving a sales target, either
individually or as a manager, or 3) The greater of 1 or 2 if the incumbent is responsible for both a sales target and an
operating budget.

✓   Does not apply                          ❑   $1.5 Million to $10 Million                         ❑ $500 Million to $1 Billion
❑   $50,000 to $150,000                     ❑   $10 Million to $50 Million                          ❑ Over $1 Billion
❑   $150,001 to $500,000                    ❑   $50 Million to $200 Million
❑   $500,001 to $1.5 Million                ❑   $200 Million to $500 Million

APPROVAL LEVEL
Select the amount below which best fits this position’s approval code level and authorized approval amount.

Approval Code         Amount                                      Approval Code          Amount
✓ 0                   $0.00                                       ❑ 5                    $10,001 - $25,000
❑ 1                   $1 - $500                                   ❑ 6                    $25,001 - $50,000
❑ 2                   $501 - $2,500                               ❑ 7                    $50,001 - $250,000
❑ 3                   $2,501 - $5,000                             ❑ 8                    $250,001 - $1,000,000
❑ 4                   $5,001 - $10,000                            ❑ 9                    $1,000,001 - $500 Million




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continue such employment. The employment relationship between the Firm and its Associates is, and shall remain, at will.

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